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 8
 9                           UNITED STATES DISTRICT COURT

10                                  DISTRICT OF ARIZONA

11 Johnny Wheatcroft and Anya Chapman,               No. 2:18-cv-02347-MTL
   as husband and wife, and on behalf of
12 minors J.W and B.W,                               NOTICE OF SETTLEMENT
13                                    Plaintiffs,
14                 v.
15 City of Glendale, a municipal entity; Matt
   Schneider, in his official and individual
16 capacities; Mark Lindsey, in his official
   and individual capacities; and Michael
17 Fernandez, in his official and individual
   capacities,
18
                                   Defendants.
19
20
                   Defendants City of Glendale, Matt Schneider and Mark Lindsey, through
21
     undersigned counsel, provide notice to the Court that they have reached a settlement with
22
     Plaintiffs Johnny Wheatcroft, J.W and B.W, in the above-captioned matter on September
23
     29, 2022. Because this settlement involves minor Plaintiffs, a pleading will be filed to seek
24
     guidance on whether Court approval of the settlement and/or appointment of a conservator
25
     is necessary for settlement approval of the minor Plaintiffs’ claims.
26
27
28


     11017288.1
      Case 2:18-cv-02347-MTL Document 412 Filed 09/29/22 Page 2 of 2




 1
                   DATED this 29th day of September, 2022.
 2
                                               JONES, SKELTON & HOCHULI, P.L.C.
 3
 4
                                               By /s. Joseph J. Popolizio
 5                                                Joseph J. Popolizio
                                                  John T. Masterson
 6                                                Justin M. Ackerman
                                                  40 N. Central Avenue, Suite 2700
 7                                                Phoenix, Arizona 85004
                                                  Attorneys for Defendants City of
 8                                                Glendale, Matt Schneider and Mark
                                                  Lindsey
 9
10                               CERTIFICATE OF SERVICE
11                 I certify that on this 29th day of September, 2022, I caused the foregoing
12 document to be filed electronically with the Clerk of Court through the CM/ECF System
13 for filing; and served on counsel of record via the Court’s CM/ECF system.
14                 I further certify that some of the participants in the case are not registered
15 CM/ECF users. I have mailed the foregoing document to the following non-CM/ECF
16 participants:
17 Marc J. Victor
   Jody L. Broaddus
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   Attorneys for Plaintiffs
21
22
     /s/ Jennifer Bernardo
23
24
25
26
27
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